                           Case 18-10341-KKS            Doc 54      Filed 10/18/19      Page 1 of 7




                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                         GAINESVILLE DIVISION
IN RE: ELSMORE, BRIAN MALCOLM                                   CASE NO: 18-10341
       ELSMORE, MERCEDES AKA BUENROSTRO,                        DECLARATION OF MAILING
       MERCEDES
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 10/18/2019, I did cause a copy of the following documents, described below,
ORDER GRANTING TRUSTEE'S MOTION TO SELL REAL PROPERTY FREE AND CLEAR
ORDER ON MOTION TO SHORTEN TIME




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 10/18/2019
                                                          /s/ Theresa M. Bender
                                                          Theresa M. Bender 0749486
                                                          THERESA M. BENDER, TRUSTEE
                                                          PO BOX 14557
                                                          TALLAHASSEE, FL 32317
                                                          850 205 7777
                                Case 18-10341-KKS               Doc 54       Filed 10/18/19         Page 2 of 7




                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF FLORIDA
                                              GAINESVILLE DIVISION
 IN RE: ELSMORE, BRIAN MALCOLM                                          CASE NO: 18-10341
        ELSMORE, MERCEDES AKA BUENROSTRO,
                                                                        CERTIFICATE OF SERVICE
        MERCEDES
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 10/18/2019, a copy of the following documents, described below,

ORDER GRANTING TRUSTEE'S MOTION TO SELL REAL PROPERTY FREE AND CLEAR
ORDER ON MOTION TO SHORTEN TIME




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 10/18/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Theresa M. Bender
                                                                            THERESA M. BENDER, TRUSTEE
                                                                            PO BOX 14557
                                                                            TALLAHASSEE, FL 32317
                          Case WERE
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                                                                       MAIL      Page 3 of 7
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                AMERIS BANK                              BK GLOBAL REAL ESTATE SERVICES
1LABEL MATRIX FOR LOCAL NOTICING         THE LILES FIRM PA                        1095 BROKEN SOUND PARKWAY SUITE 200
11291                                    301 WEST BAY STREET SUITE 1030           BOCA RATON FL 33487-3503
CASE 18-10341-KKS                        JACKSONVILLE FL 32202-5103
NORTHERN DISTRICT OF FLORIDA
GAINESVILLE
FRI OCT 18 13-25-20 EDT 2019



PRA RECEIVABLES MANAGEMENT LLC           US BANK NATIONAL ASSOCIATION AS          AMERIS BANK
PO BOX 41021                             TRUSTEE F                                CO ROBERT B GEORGE ESQ
NORFOLK VA 23541-1021                    CO LINDSEY SAVASTANO                     THE LILES FIRM PA
                                         SHAPIRO FISHMAN GACHE LLP                301 WEST BAY STREET SUITE 1030
                                         2424 NORTH FEDERAL HIGHWAY SUITE 360     JACKSONVILLE FL 32202-5103
                                         BOCA RATON FL 33431-7701




US BANK NATIONAL ASSOCIATION             ALLFAST                                  ALLIED BUILDING PRODUCTS CORP
CO LINDSEY SAVASTANO                     3005 SW WILLINGTON RAOD                  15 E UNION AVENUE
SHAPIRO FISHMAN GACHE LLP                GAINESVILLE FL 32608-3928                EAST RUTHERFORD NJ 07073-2127
2424 NORTH FEDERAL HIGHWAY SUITE 360
BOCA RATON FL 33431-7701




ALLIED BUILDING SUPPLY CORP              ALLSTATE INSURANCE                       ALTERNATIVE COLLECTIONS LLC
CO WILLILAM LINDEMAN ESQ                 CREDIT COLLECITONS SERVICE               65 LAWRENCE BELL DRIVE
PO BOX 3506                              725 CANTON STREET                        BUFFALO NY 14221-7182
ORLANDO FL 32802-3506                    NORWOOD MA 02062-2679




AMERIS BANK                              ANGIES LIST                              ARDELIA CHARLSTON
225 SOUTH MAIN ST                        1030 E WASHINGTON STREET                 5007 MAGNOLIA VALLEY DRIVE
MOULTRIE GA 31768-4576                   INDIANAPOLIS IN 46202-3953               JACKSONVILLE FL 32210-4896




ARIELA GRODENS                           ASPIREEMERGE                             BANK OF AMERICA
7120 NE 19TH AVENUE                      ATTN BANKRUPTCY                          PO BOX 982238
GAINESVILLE FL 32641-2787                PO BOX 105555                            EL PASO TX 79998-2238
                                         ATLANTA GA 30348-5555




BANK OF AMERICA MERCHANT                 BEACON SALES ACQUISITION INC             BRIAN VAN ALLEN
14141 SW FREEWAY                         DBA ALLIED BUILDING PRODUCTS             CO JONES LAW FIRM
SUGAR LAND TX 77478-3493                 CO NANCY GANNON                          10752 DEERWOOD PK STE 100
                                         15 EAST UNION AVE                        JACKSONVILLE FL 32256-4846
                                         EAST RUTHERFORD NJ 07073-2127




CAN CAPITAL                              CSH PROPERTY ONE LLC                     CAPITAL ONE
2015 VAUGH ROAD SUITE 500                INVITATION HOMES                         PO BOX 30285
KENNESAW GA 30144-7831                   8665 EAST HARTFORD AVE SUITE 200         DALLAS ME 04113
                                         SCOTTSDALE AZ 85255-7807




CAPITAL ONE                              CAVALRY PORTFOLIO SERVICES               CAVALRY SPV I LLC
PO BOX 619094                            ATTN BANKRUPTCY DEPARTMENT               500 SUMMIT LAKE DRIVE STE 400
DALLAS ME 04113                          500 SUMMIT LAKE STE 400                  VALHALLA NY 10595-2321
                                         VALHALLA NY 10595-2322
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CHARITEE GEROW                           CHOICE RECOVERY INC                      CITY ELECTRIC
4872 VICTORIA CHASE DRIVE DRIVE          1550 OLD HENDERSON ROAD                  CO MILENE LAW GROUP
JACKSONVILLE FL 32257-5206               STE 100                                  545 DELANEY AVE BUILDING 9
                                         COLUMBUS OH 43220-3662                   ORLANDO FL 32801-3866




CITY ELECTRIC SUPPLY COMPANY             CLAY ELECTRIC                            CONSOLIDATED ELECTRICAL DISTRIBUTORS
545 DELANEY AVENUE BLD 7                 PO BOX 308                               IN
ORLANDO FL 32801-3866                    KEYSTONE HEIGHTS FL 32656-0308           CO JEFFREY STULL ESQ
                                                                                  602 SOUTH BLVD
                                                                                  TAMPA FL 33606-2630




CREDIT COLLECTIONS USA LLC               CRYSTAL SPRINGS                          DATA PUBLISHING
16 DISTRIBUTOR DRIVE                     6720 DISCOVERY BLVD                      PO BOX 3770
SUITE 1                                  MABLETON GA 30126                        BLUFFTON SC 29910-3770
MORGANTOWN WV 26501-7209




DAVID SMITH                              DIRECTV LLC                              DISCOVER BANK
11332 SW 139TH PLACE                     BY AMERICAN INFOSOURCE AS AGENT          DISCOVER PRODUCTS INC
DUNNELLON FL 34432-5626                  PO BOX 5008                              PO BOX 3025
                                         CAROL STREAM IL 60197-5008               NEW ALBANY OH 43054-3025




DISCOVER FINANCIAL                       DOCUMENT TECH OF NCF                     EDWIN ROXAS
PO BOX 3025                              124 MAGNOLIA AVENUE                      11655 ABIGAIL DRIVE
NEW ALBANY OH 43054-3025                 OCALA FL 34471-1154                      JACKSONVILLE FL 32258-1565




ELSIA KENNEDY                            ESTATE OF DARREN ROWLEY                  FCO FAIR COLLECTIONS
9555 SW 70TH LOOP                        240 SW 131TH STREET                      12304 BALTIMORE AVE
OCALA FL 34481-2562                      NEWBERRY FL 32669-3074                   BELTSVILLE MD 20705-1314




FEDERAL NATIONAL MORTGAGEA ASSOC         FERGUSON                                 FIRST PREMIER BANK
SHD LEGAL GROUP                          10355 SOUTH ORANGE AVENUE                ATTN BANKRUPTCY
PO BOX 19519                             ORLANDO FL 32824-7712                    PO BOX 5524
FORT LAUDERDALE FL 33318-0519                                                     SIOUX FALLS SD 57117-5524




FLORIDA CREDIT UNION                     FRANCISCO MARTINEZ WITTINHAN             GRU
PO BOX 5158                              1753 N CAPPERO DRIVE                     301 SE 4TH AVENUE
GAINESVILLE FL 32627-5158                SAINT AUGUSTINE FL 32092-4767            GAINESVILLE FL 32601-6857




GEXPRO                                   GORMAN                                   GREGORY HALE ESQ
400 TECHNOLOGY CT E                      213 GORMAN DRIVE                         3426 NW 43RD STREET SUITE A
SMYRNA GA 30082-5237                     GAINESVILLE FL 32609                     GAINESVILLE FL 32606-8156
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GREYBAR                                  HIBU                                     HOMEADVISOR
1015 SOUTH MAIN STREET                   PO BOX CEDAR RAPIDS                      14023 DENVER WEST PARKWAY
GAINESVILLE FL 32601-7926                CEDAR RAPIDS IA 52406                    BL SUITE 200
                                                                                  GOLDEN CO 80401-3253




INTERNAL REVENUE SERVICE                 INVITATION HOMES                         J ERIC JONES ESQ
CENTRALIZED INSOLVENCY OPERATIONS        8665 EAST HARTFORD AVE SUITE 200         10752 DEERWOOD PARK BLVD
PO BOX 7346                              SCOTTSDALE AZ 85255-7807                 SUITE 100
PHILADELPHIA PA 19101-7346                                                        JACKSONVILLE FL 32256-4846




JOHN VOGEL                               JOSEPH TIERNEY                           KAD HOLDING LLC
8973 SW 86TH LOOP                        12395 ACOSTA OAKE DRIVE                  1325 NW 53RD AVE STE E
OCALA FL 34481-9804                      JACKSONVILLE FL 32258-4224               GAINESVILLE FL 32609-6139




LSOP 3 FL 3 LLC                          LTD FINANCIAL                            LVNV FUNDING LLC
CO COMMNWEALTH COMMERICAL PARTNERSHIP    7322 SOUTHWEST FREEWAY                   PO BOX 740281
PO BOX 856605                            SUITE 1600                               HOUSTON TX 77274-0281
GREENVILLE SC 29615                      HOUSTON TX 77074-2134




LVNV FUNDING LLC                         LIFE ON 24TH                             LOUIS SCHNECK
RESURGENT CAPITAL SERVICES               CO TREY FORD                             25 CORAL REEF CT S
PO BOX 10587                             5051 NW 13TH STREET                      PALM COAST FL 32137-8327
GREENVILLE SC 29603-0587                 GAINESVILLE FL 32609




LOWES BUSINESS CREDIT CARD               MERCEDES BENZ FINANCIAL SERVICES         MICHAEL E MILNE
PO BOX 965060                            PO BOX 685                               545 DELANEY AVENUE BLD 7
ORLANDO FL 32896-5060                    ROANOKE TX 76262-0685                    ORLANDO FL 32801-3866




MOHELA DEPT ED                           MR COOPERUS BANK NATL ASSOCIATE          NINE FASTENERS
633 SPIRIT DRIVE                         ATTN BANKRUPTCY                          233A SOUTH STREET
LINN MO 65051                            8950 CYPRESS WATERS BLVD                 HOPKINTON MA 01748-2208
                                         COPPELL TX 75019-4620




ONEMAIN                                  ONEMAIN FINANCIAL                        PYOD LLC
PO BOX 3251                              ATTN BANKRUPTCY                          RESURGENT CAPITAL SERVICES
EVANSVILLE IN 47731-3251                 601 NW 2ND STREET                        PO BOX 19008
                                         EVANSVILLE IN 47708-1013                 GREENVILLE SC 29602-9008




PAUL WEST USED CARSUS CREDIT INC         PITNEY BOWES                             PLATINUM RAPID FUNDING
3320 N MAIN ST                           PO BOX 5010                              348 RXR PLAZA UNION PLAZA
GAINSVILLE FL 32609-2306                 WOODLAND HILLS CA 91365-5010             UNIONDALE NY 11556
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PLATINUM RAPID FUNDING                   PLATINUM RAPID FUNDING GROUP INC         PORTFOLIO RECOVERY ASSOCIATES LLC
CO LINDSEY ROHAN ESQ                     PRYOR MANDELUP LLP CO ANTHONY G          4851 COX ROAD
69 N MORRIS AVENUE                       675 OLD COUNTRY ROAD                     GLEN ALLEN VA 23060-6293
FARMINGVILLE NY 11738-1152               WESTBURY NY 11590-4503




PORTFOLIO RECOVERY ASSOCIATES LLC        REPUBLIC SERVICES                        REVENUE RECOVERY SOLUTIONS INC
PO BOX 41067                             8619 WESTERN WAY                         323 10TH AVENUE WEST
NORFOLK VA 23541-1067                    JACKSONVILLE FL 32256-0360               SUITE 300
                                                                                  PALMETTO FL 34221-5042




ROBERT OLSEN                             ROGER AGRAVANTE                          RONALD ADVEY
5300 N HIGHWAY 314A                      11494 GLEN LAUREL OAKS CIRCLE            41 NATURE BOUNTY CT
SILVER SPRINGS FL 34488-4460             JACKSONVILLE FL 32257-4533               SAINT MARYS GA 31558-3994




SCP                                      SABLE CHASE CLUSTER SUBDIVISION          SATURN FUNDING
PO BOX 85001                             CO ACTION REALTY ASSOCIATES              CO ARIEL BOUSKILA ESQ
ORLANDO FL 32885-0001                    6110-B NW 1ST                            40 EXCHANGE PLACE SUITE 1306
                                         GAINESVILLE FL 32607-6019                NEW YORK NY 10005-2743




SATURN FUNDING LLC                       SETERUS INC                              SHAPIRO FISHMAN GACHE LLP
333 7TH AVENUE                           FEDERAL NATIONAL MORTGAGE ASSOCIATION    4630 WOODLAND CORPORATE BLVD
NEW YORK NY 10001-5125                   ATTN- BANKRUPTCY                         SUITE 100
                                         PO BOX 1077                              TAMPA FL 33614-2429
                                         HARTFORD CT 06143-1077




SHELL SMALL BUSINESS CARD                SHIRLEY LANE                             SOLIGENT
PO BOX 6406                              3972 NW 23RD CIRCLE                      1500 VALLEY HOUSE DRIVE
SIOUX FALLS SD 57117-6406                GAINESVILLE FL 32605-2668                SUITE 210
                                                                                  ROHNERT PARK CA 94928-4938




SYNCHRONY BANKCARE CREDIT                TD BANKRADIUS GLOBAL SOLUTIONS           TJMAXX CREDIT
ATTN BANKRUPTCY DEPT                     PO BOX 390846                            PO BOX 103104
PO BOX 965061                            HOWARD LAKE MN 55349                     ROSWELL GA 30076-9104
ORLANDO FL 32896-5061




TEX TRACY                                THE HOME DEPOT CREDIT SERVICES           THE TROPHY SHOP
8307 SW 152ND AVENUE                     PO BOX 790345                            707 NW 13TH STREET
ARCHER FL 32618-4462                     SAINT LOUIS MO 63179-0345                GAINESVILLE FL 32601-2920




TOM CHARLIER                             TOM AND SHIRLEY LANE                     TOMMY MILLER
210 CRYSTAL COURT                        3792 NW 23RD CIRCLE                      5513 NW CR 229
WINTER HAVEN FL 33880-4910               GAINESVILLE FL 32605                     STARKE FL 32091-8112
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TOMMY MILLER                             USA INSULATION                           UNITED STATES TRUSTEE
5513 NW COUNTY ROAD                      5771 MINING TERRACE 103                  110 E PARK AVENUE
STARKE FL 32091                          JACKSONVILLE FL 32257-3230               SUITE 128
                                                                                  TALLAHASSEE FL 32301-7728




VERIZON                                  WELLS FARGO EQUIPMENT                    WHATS HAPPENING PROMOTION
455 DUKE DRIVE                           1010 THOMAS EDISON BL                    7020 NW 11TH PLACE
FRANKLIN TN 37067-2701                   CEDAR RAPIDS IA 52404-8247               GAINESVILLE FL 32605-3144




WHOLESALE SOLAR SUPPLY INC               WILLIAM A FRIEDMAN                       WILLIAM FRIEDMAN
ATTN AQUATHERM POOL HEATING SUPPLY       314 SW 93RD STREET                       314 SW 93RD STREET
EDWARD HALL                              GAINESVILLE FL 32607-6311                GAINESVILLE FL 32607-6311
2213 ANDREA LANE 108
FORT MYERS FL 33912-1934




WILLIAMS NORIEGA ESQ                     YELLOWSTONE CAPITAL                      BARBARA A CUSUMANO
2424 N FEDERAL HIGHWAY SUITE 360         1 EVERTRUST PLAZA 14TH FLOOR             BARBARA A CUSUMANO ATTORNEY AT LAW
BOCA RATON FL 33431-7780                 JERSEY CITY NJ 07302-3088                2727 NW 43RD STREET SUITE 2A
                                                                                  GAINESVILLE FL 32606-6632




DEBTOR                                   MCCOY ANDERSON                           MERCEDES ELSMORE
BRIAN MALCOLM ELSMORE                    GATOR HOMES REALTY                       4306 SW 69TH TERRACE
3710 COTTAGE DRIVE                       21727 SE 69TH AVE                        GAINESVILLE FL 32608-6431
COLORADO SPRINGS CO 80920-7801           HAWTHORNE FL 32640-3954




EXCLUDE
THERESA M BENDER
PO BOX 14557
TALLAHASSEE FL 32317-4557
